Case 8:18-cV-00357-CEH-|\/|AP Doeument 1 Filed 02/12/18 Page 1 of 6 Page|D 1
c`.-'l FD

UNITEI) STATES l)lS'I`RICT C()URT

WFEB » .
Mn)l)LEI)IsTRlCToFFLoRu)A ° " 12 AHH'3L'

 

TAMPA DlvlsloN HCDID§`\§ Di§|ihflb.rizor iam
A.PA FLomoA

ALlsA l)oLPHIN,

Plain¢iff, CASE No. X~.\ % c ~/ SS'>;/Y go y\e,g

vs. JURY TRIAL I)EMANDED

FIFTH THIRI) BANK,

Defendant.

/
C_O_IV_ILIM

Plaintil`l`, ALISA DOLPHIN (“Plaintiff"’), alleges the following Complaint against
Det`endant, FIFTH THIRD BANK (“I)efendant”):

1. This is an action f`or damages for violations of the 'l`elephone Consumer Protection
Act 47 U.S .C. §227 et seq (“ l"CPA `) and the l lorida Consumer Collection Praetices Act, Fla. Stat.

§§ 559.55 et seq. (“FCCPA”).

PARTIES
2. Plaintil`t" is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).
3. Del`endant is a foreign company that conducts business in Florida. Det`endant has a

registered agent located in the state of Florida, and the actions forming the basis of this Complaint
took place at Plaintil`t"'s home location in this district.
4. Det`endant is a “person” subject to regulation under Fla. Stat. § 559.72.

3. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(813-XXX-2985), and was the called party and recipient of Defendant’s autodialer calls.

/\\q>;\° -i-
se

'Case 8:18-cV-00357-CEH-|\/|AP Document 1 Filed 02/12/18 Page 2 of 6 Page|D 2

.lURlSl')ICTION ANI) VENUE
6. 'l`ltis Coult has federal question jurisdiction pursuant to 28 U.S.C. § l331 l`or the
'I`CPA elaim, and should exercise supplemental jurisdiction over the state l"`CCP/\ claims pursuant
to 28 U.S.C. § l367(a), as such claims are so closely related so as to form part ol" the same case or
controversy.
7. Vcnue is proper in this l)islrict pursuant to 28 U.S.C. § l39l(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

8. l’laintifl` allegedly incurred a consumer debt with Defendant (“Subject Debt”).
9. 'l`he Subject Debt is considered a “consumcr debt” as defined by the FCCPA, as it

constitutes an obligation l"or the payment ol` money arising out of a transaction in which the money
and/or services which was the subject ol" the transaction was primarily for Plaintit"f"s personal,
l`amily, or household purposes

lO. In or around Decembcr, 2017, Plaintii‘l` l`ell behind on her payments due to financial
hardship.

l l. ()n December 20, 2017, Del`endant placch an automath call to l’laintift"s cell
phone. Plaintifl’ informed Defendant that she could not al`ford to pay the subject debt and requested
Del`endant to stop calling her cell phonc.

12. Despite Plaintift"s rcqucst, Del`endant continued to autodial l’laintil"l’s cell phone in

an attempt to collect the subject debt.

Case 8:18-cV-00357-CEH-|\/|AP Document 1 Filed 02/12/18 Page 3 of 6 Page|D 3

13. ()n Deecmber 22, 2017, at zn)proxilmttel),' 1:28 pm, l)cfendant placed an automated
call to Plaintifl"s cell phone. l’laintiff informed l)cfcndant that she could not afford to pay the
subject debt and requested Defendant to stop calling her cell phone.

14. Defendant continued to autodial Plaintift"s cell phone approximately 75 times. See
E.\'hibit A.

15. Defendant routinely used an automatic telephone dialing system (“ATDS”) to call
Plaintiff on her cellular phone, for which l’laintiil` was charged, without Plaintifl"s prior express
consent, and after Plaintill`demanded that Dcfendant stop calling her cellular phone.

16. Further, Defendant has a corporate policy to use an A'I`DS and has numerous other
federal lawsuits pending against them alleging similar violations and facts as stated in this
complaint

17. Despite P|aintiff informing the l)efendant for her reasons of non-payment towards
the Subjcct Debt and taking all reasonable measures at negotiating a resolution to the Subjcct Debt,
the Defendant continued its efforts to try and collect the Subjcct Debt from Plaintiff. As a result, the
Defendant’s subsequent attempts to persuade Plaintiff were made with the intent to simply exhaust
Plaintift’s will and harass Plaintiff.

18. 'l`he above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff. Defendant’s conduct has
caused Plaintif`fsignilicant anxiety, emotional distress, frustration, and anger.

19. 'l`he above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass l’laintiff.

20. Defendant’s autodialer calls to l’laintifl"'s cell phone caused her headaches

C`ase 8:18-cV-00357-CEH-|\/|AP Document 1 Filed 02/12/18 Page 4 of 6 Page|D 4

21. By effectuating these unlawful phone calls, Defendant has caused l’laintiff the very
harm that Congress sought to prevent_namely, a "nuisance and invasion of privacy."

22. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff"'s rights and interests in her cellular telephone and cellular telephone line, by intruding
upon PlaintiH’s seclusion.

23. Defendant’s phone calls harmed Plaintili" by wasting her time.

24. Moreover, "wireless customers [likc Plaintif[] arc charged for incoming calls
whether they pay in advance or alter the minutes are used." ln re: Rules lmplementing the TCPA of
1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed l’laintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

COUNT I

VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTlON ACT
47 U.S.C. § 227 et seq.

25. Plaintiff incorporates by reference paragraphs l through 24 of this Complaint as
though fully stated herein.

26. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned
to a cellular telephone service .. .” 47 U.S.C. § 227(b)(l)(A)(iii).

27. The Defendant placed non-emergency telephone calls to Plaintiff”s cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without

Plaintist consent in violation of 47 U.S.C. § 227(b)(l)(A)(iii).

Case 8:18-cV-00357-CEH-|\/|AP Document 1 Filed 02/12/18 Page 5 of 6 Page|D 5

28. Plaintiti` revoked any prior express consent Defendant had to call Plaintift`s cellular
telephone numbcr. As such, the l)efendant’s calls were willful or knowing See 47 U.S.C. §
312(|)(1).

29. As a result of the l)efendant’s conduct and pursuant to Seetion 227(b)(3) of the
'l`Cl’/\, Plaintiff was harmed and is entitled to a minimum of$500 in damages for each violation.

30. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone - and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call l’laintif|"s cellular
telephone without prior express consent f Plaintiff requests the Coun to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

Wl ll;`REF()RF., Plaintiff demands judgment against the Defendant for damages. costs, and
such further relief as this Court deems just and proper.

COUNT ll

VlOLA'flONS OF 'l`HE FLORlDA C()NSUMER COLLECTI()NS PRACTICES AC'I`
FLORIDA S'l`ATUTES § 559.55 et seq.

31. Plaintitf incorporates by reference paragraphs 1 through 24 of this Complaint as
though fully stated herein.
32. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. lila. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonany be expected to abuse or harass the
debtor or any member of her or his family.

33. As a result of Defendant’s violation of the l"CCP/\, pursuant to l"la. Stat. § 559.77

l’laintiff is entitled to damages in an amount up to $l,t)00.00 for violation of the FCCI’A. actual

damages plus reasonable attorneys` fees and costs.

Case 8:18-cV-00357-CEH-|\/|AP Document 1 Filed 02/12/18 Page 6 of 6 Page|D 6

Wl'llEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’

fees, costs, and such further relief as this Court deemsjust and proper.

DEMANI) FOR .IURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

/s/ %/

ton P. Dt¢ésetd, E§q.

Fla. Bar No. 105869
.Ion@berkmyer.com
Berl<owitz & l\/lyer

4900 Central Avc

St. Petersburg, lilorida 33707
(727) 344-0123(ol`lice)
/lllorneysfor Plaimiff

_(,_

